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                    EXHIBIT C

                      Budget
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Yield10 Bioscience, Inc. and Subsidiaries
Cash Budget
For the Period December 6, 2024 through January 10, 2025


Yield10 Bioscience, Inc.
Citizens Bank Operating Account                                $USD
Balance as of December 6, 2024                             $    183,900
Current outstanding payments                                        -
Estimated (Payments) / Deposits:
Pendindg Ramp Credit Card Charges (van, etc.)                    (1,677)     Previous balance plus pay AWS invoice ($792); reduced all CC limits to $0
US Payroll (Payroll 12/13/2024)                                 (20,877)     1 week full salary, 1 week FLSA minimum $844/wk + estimated taxes, charges, and benefits
US Payroll (Payroll 12/27/2024)                                  (7,979)     2 weeks FLSA minimum $844/wk + estimated taxes, charges, and benefits
US Payroll (2024 Stub, 2 days)                                   (1,596)     2 days FLSA minimum $844/wk + estimated taxes, charges, and benefits
US Accrued Vacation Payouts to remaining employees              (18,150)
Gravoc IT services and & software licenses                       (7,205)     Pay ahead through Feb 2025
Post Chapter 11 Consulting                                       (7,000)     Peoples, Haaser, Ramirez ( 4 hours per business day 1/1/25 thru 1/10/25 @ $250 hour)
Iron Mountain                                                    (4,100)     Offsite document destruction
Delaware Travel Reimbursement                                    (3,000)     Peoples' trips to Delaware for court proceedings
Tobin Storage                                                   (14,000)     Ambient storage of research materialss and equipment @ $2K/mo and cold storage of $5K/mo
Estimated balance at January 10, 2025                      $     98,316

Yield10 Oilseeds Inc.
Bank of Montreal Operating Account                             $CDN
Balance as of December 6, 2024                             $     10,582
Current outstanding payments:                                       -
Estimated (Payments) / Deposits:
GST/HST Refund                                                   10,979
Estimated balance at January 10, 2025                      $     21,561
